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                            Exhibit 1
                        July 1, 2024, Letter
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                                                       U.S. Department of Justice

                                                       Environment and Natural Resources Division

90-5-1-1-09841 and 90-5-1-1-09841/1
Environmental Enforcement Section                                                  Telephone (202) 514-1707
P.O. Box 7611                                                                          angela.mo@usdoj.gov
Washington, DC 20044




                                                       July 1, 2024

Via Email and CM/ECF
Ted Henifin
Interim Third-Party Manager
ted@jxnwater.com

         Re: July 1 Update Pursuant to SNAP Order in United States and State of Mississippi v.
         City of Jackson, MS, Case No. 3:12-cv-790-HTW-LGI (Clean Water Act Case) and
         United States v. City of Jackson, MS, Case No. 3:22-cv-00686-HTW-LGI (Safe Drinking
         Water Act Case)

Dear Mr. Henifin:

        The Court’s April 16, 2024, Order (“SNAP Order”) required that “the relevant federal
and/or State agencies implementing the SNAP program shall provide the ITPM a list in CSV
(comma-separated values) format, containing the name and address of recipients of SNAP
benefits residing in the [listed] zip codes” and that they “shall further provide any updated list to
the ITPM on the first business day of each calendar quarter thereafter beginning on July 1,
2024.” SNAP Order [Dkt. No. 107] at 4.

        Accordingly, the United States, on behalf of USDA, submits this letter to provide the
required July 1 update, in compliance with the SNAP Order. Based upon USDA’s review of
updated information in its possession since its search to meet the SNAP Order’s initial deadline,1
USDA does not have information responsive to the SNAP Order. USDA only has SNAP
household data for 6 households from January and February 2024 that falls within the covered
zip codes, which it obtained from the Mississippi Department of Human Services as part of its
quality review process (a sampling process USDA conducts to determine each State’s rate of

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  USDA previously conducted a diligent search for responsive information to meet the SNAP
Order’s initial deadline of April 30, 2024, which was later extended to May 14, 2024, under a
Court-approved Stipulation for an Extension of Time [Dkt. No. 109]. This search yielded no
responsive information. [See Dkt. No. 111 (letter from United States to Court).] Please note
that, at the time, USDA determined it had information for 17 households from the last three
months of calendar year 2023 that fell within the covered zip codes. Id. at 1-2. Upon further
review, however, USDA has determined that it had information for only 8 such households.
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SNAP payment errors). This five- to six-month-old data is not current. Thus, the limited data in
USDA’s possession does not indicate the recipient-households that are currently “residing”
within the covered zip codes, and it is therefore not responsive to the Court’s order.

                                                    Sincerely,



                                                    Angela Mo


Cc:    Paul Calamita, Esq., Counsel for the ITPM
       Malissa Wilson, Esq., Counsel for the ITPM
       Mitch McGuffey, Counsel for the ITPM
       Mina Kim, Esq., USDA
       Virginia Henning, Esq., USDA
       Sarah Merrill, Esq., USDA
       CM/ECF Service List




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